 Fill ,n t., s ,n.o..at,ontoidentifyyourcase:                                                                                                                    ^^ ^^ ^^ ^
 Debtor1         DEANNALYNDAVIS                                                                                                                                     2019JUL29 PMl:(
                   First Name                     Middle Name                        Last Name

 Debtor?           N/A
 (Spouse, iffiling) FirstName                     MiddleName                         LastName

 UnitedStatesBankruptcyCourtforthe: DistrictofArizona                                                    |^J
 Casenumber                                                                                                                                                                   Q CheckIfthisisan
                   (ifknowni                                                                                                                                                       amended filing



Official Form 106Sum
Summary of Your ssets and Liabilities and Certain Statistical Information                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:       Summarize Your Assets


                                                                                                                                                                          Your assets
                                                                                                                                                                          Value of what you own

1. ScheduleA/B: Property (Official Form 106A/B)
   1a.Copyline55,Totalrealestate,from ScheduleA©..........................................................................................................                    $      ^ ' ' >'

   1b.   Copy line 62,    Total personal pFDperty,     from Schedule A/B...............................................................................................       $          5, 045.32


   1c.Copyline63, Totalofall propertyon ScheduleA/B......................................................................................................... ,                       216.045.32


Part 2:       Summarize Your Liabilities


                                                                                                                                                                          Your liabilities
                                                                                                                                                                          Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a.Copythetotal you listed in Column A,Amount ofc/a/m, atthe bottom ofthelastpageofPart 1 of Schedule D............                                                        ®      ^u^.,'

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
   3a. Copythe total claimsfrom Part 1 (priority unsecured claims) from line 6e of Schedule E/F.

   3b.CopythetotalclaimsfromPart2 (nonpriorityunsecuredclaims)fromline6j ofScheduleE/F.......................................                                                         92, 208.00

                                                                                                                                              Yourtotal liabilities           $      294, 685. 31

Part 3:       Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                                         3, 875.96
   Copy your combinedmonthly incomefrom line 12 of Schedule I.

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from tine 22c of Schedule J ,
                                                                                                                                                                                         3, 569. 39




Official Form 106Sum                             Summary of Your Assets and Liabilitiesand Certain Statistical Information                                                          page 1 of 2




          Case 2:19-bk-09371-PS                             Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                                                                       Desc
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   Debtor 1        DEANNA LYN DAVIS                                                                  Case number wknawn




    Part 4:       Answer These Questions for Administrative and Statistical Records


    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       Q No.Youhavenothingtoreportonthispartoftheform. Checkthisboxandsubmitthisformtothecourtwithyourotherschedules.
       0 Yes

    7 What kind of debt do you have?

       0 Yourdebts are primarily consumer debts. Consumer debtsarethose"incurred byanindividual primarilyfora personal,
              family, or householdpurpose." 11 U.S.C. § 101(8). Fill out lines 8-9gforstatistical purposes. 28 U. S.C. § 159.

       Q Yourdebts are not primarily consumer debts. You have nothing to report onthispartoftheform. Checkthisboxandsubmit
              this form to the court with your other schedules.



    8. From the StatementofYour Current Monttily Income:Copy yourtotal current monthly incomefrom Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 3,875.96




   9. Copy the following special categories of claims from Part 4, line 6 of ScheduleE/F:


                                                                                                            Total claim


         From Part 4 on Schedule E/F, copy the following:


                                                                                                            $                   0. 00
       9a. Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                   0.00

       9c. Claimsfor death or personal injurywhileyou were intoxicated. (Copy line 6c.)                     $                   0.00

                                                                                                            $             47, 354. 00
       9d. Student loans. (Copy line 6f.)


       9e. Obligations arising out of a separation agreement or divorce that you did not report as          $                   0. 00
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                     0.00

       9g. Total. Add lines 9a through 9f.                                                                                47, 354. 00




Official Form 106Sum       Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2 of 2




               Case 2:19-bk-09371-PS                    Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                                 Desc
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Fill in this information to identify your case and this filing:


Debtor1             Deanna Lyn Davis
                    FiratNgms                     MMdlaName

Debtor2             N/A
(Spouse, if filing) FirstName                     MiaaBName

United States Bankruptcy Court for the: District of Arizona

Case number
                                                                                                                                              a Check if this is an
                                                                                                                                                 amended filing

Official Form 106A/B
Sc =                                                 op                                                                                                    12/15

In each category, separately list and describe items. Listan asset only once. Ifan assetfits in more than one category, list the asset in the
category whereyou think it fits best. Be as complete and accurateas possible. Iftwo married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
wnte your name and case number (if known). Answer every question.

Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have anylegal or equitable interest in any residence, building, land, or similar property?
   a No. Go to Part 2.
   E( Yes.Whereistheproperty?
                                                                    What is the property? Checkall thatapply.        Do not deduct secured claims or exemptions. Put
                                                                        Single-family home                           the amount of any secured claims on SchgdufeD;
     1. 1.   7599WNicoletAve                                                                                         CrecWoreWhoHaw ClaimsSecuredby Property.
                                                                    Q   Duplexor multi-unit building
             Street address, if available, or other description
                                                                    Q   Condominiumorcooperative                     Current value of the       Current value of the
                                                                    Q   Manufacturedormobilehome                     entire property?           portion you own?
                                                                    Q   Land                                         $      211, 000. 00 $           211, 000. 00
                                                                    Q   Investment property
             Glendate                         AZ       85303                                                         Describe the nature of your ownership
                                                                    Q Timeshare
             City                            State      ZIP Code                                                    interest (such as fee simple, tenancy by
                                                                    Q Other                                         the entireties, or a life estate), if known.
                                                                    Whohasaninterestinthe property?Checkone. unknown
             Maricopa                                               BTDebtor1 only
             County                                                 Q Debtor2 only
                                                                    a Debtor1 and Debtor2 only                      L-1 check ifthis iscommunity property
                                                                    a Atteastoneofthedebtorsandanother                   <seeinstructions)
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
   If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.
                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                   Q Single-family home                             the amount of any secured claims on Schedule D:
     1.2.    N/A                                                                                                     CreditorsWhoHave Clams Securedby Property.
                                                                   Q Duplexor mutti-unit building
             Street address, if available, or other description
                                                                   Q Condominium orcooperative                      Current value of the        Current value of the
                                                                   Q Manufactured or mobile home                    entire property?            portion you own?
                                                                   a   Land
                                                                   Q   Investment property
                                                                   Q   Timeshare                                    Describethe nature of your ownership
             City                            State      ZIP Code                                                    interest (such as fee simple, tenancy by
                                                                   Q   Other                                        the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Checkone.
                                                                   Q Debtor1 only
             County
                                                                   C-l Debtor2 only
                                                                   Q Debtor 1 and Debtor2 only                      Q Checkifthisiscommunityproperty
                                                                   Q At least one of the debtors and another             (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


Official Form 106A/B                                               Schedule A/B: Property                                                              page 1


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 Debtor 1           DEANNA LY DAVIS                                                                     Case number (/ffmou'n)




                                                                  What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
              N/A                                                 Q   Single-family home                                    the amount of any secured claims on Schedule D:
      1.3.                                                                                                                  Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description   Q   Duplexor multi-unit building
                                                                  Q   Condominium orcooperative                             Current value of the      Current value of the
                                                                                                                            entire property?          portion you own?
                                                                  Q   Manufacturedormobilehome
                                                                  Q   Land
                                                                  Q Investmentproperty
             City                            State      ZIPCode   Q Timeshare                                              Describethe nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                  Q Other                                                  the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Checkone.
                                                                  Q Debtor 1 only
             County
                                                                  Q Debtor2 only
                                                                  Q Debtor 1 and Debtor2 only                              Q Checkifthisis communityproperty
                                                                  Q At least one ofthe debtors and another                       (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                   $       211, 000. 00
   you have attached for Part 1. Write that number here.




Part 2:       Describe Your Vehicles



Do you own, tease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   a No
   0 Yes

    3. 1.    Make:                        CHEVROLE                Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:                       BLAZER                  0 Debtor1 only                                           Creditors Who Have Claims Secured by Property,
                                          2003                    Q Debtor2 only
             Year:                                                                                                         Current value of the       Current value of the
                                                                  D Debtor 1 and Debtor2 only
             Approximate mileage:         167,000                 Q Atleastoneofthedebtorsandanother
                                                                                                                           entire property?           portion you own?

             Other informatton:
                                                                                                                                       1,400. 00 $              1,400.00
                                                                  Q Check if this is community property (see
                                                                      instructions)



   If you own or have more than one, describe here:

    3.2. Make:                           N/A                      Who has an interest in the property? Checkone.           Do not deductsecured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:                                               Q Debtor 1 only                                          CreditorsWho HaveClaims Securedby Property.
                                                                  Q Debtor2 only
             Year:                                                                                                         Current value of the       Current value of the
                                                                  Q Debtor 1 and Debtor2 only
             Approximate mileage:
                                                                                                                           entire property?           portion you own?
                                                                  Q At leastoneofthe debtorsandanother
             Other information:
                                                                  Q Checkifthis iscommunityproperty(see
                                                                      instructions)




Official Form 106A/B                                              Schedule A/B: Property                                                                     page 2


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 Debtor1       DEANNALYDAVIS                                                                 Case number (ifknown)




    3.3. Make:                    N/A                   Who has an interest in the property? Checkone.          Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                        Q Debtor 1 only                                        CreditorsWhoHave ClaimsSecuredbyProperty.
                                                         Q Debtor2 only
           Year:                                                                                                Current value of the      Current value of the
                                                         Q Debtor 1 and Debtor2 only
           Approximate mileage:                                                                                 entire property?          portion you own?
                                                        Q At least one of the debtors and another
           Other information:
                                                         Q Check ifthis is community property (see
                                                            instructions)


   3. 4.   Make:                  N/A                   Who has an interest in the property? Check one.         Do notdeductsecured claims orexemptions. Put
                                                                                                               the amount of any secured claims on Schedule D:
           Model:                                       1-1 Debtor 1 only                                      CreditorsWhoHave ClaimsSecuredby Property.
                                                        Q Debtor2 only
           Year:                                                                                               Current value of the       Current value of the
                                                        Q Debtor 1 and Debtor2 only
           Approximate mileage:                                                                                entire property?           portion you own?
                                                        Q At least oneofthedebtorsandanother
           Other information:
                                                         Q Check if this is community property (see
                                                            instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   a No
   saves

   4. 1. Make:      COVEN                               Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                                                                               the amount of any secured claims on Schedule D:
           Model: 4-x4'x8-Trailer                       B Debtor 1 only
                                                                                                               Creditors Who Have Claims Secured by Property.
           Year: 2006                                   Q Debtor2 only
                                                        Q Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
           Other information:                           Q At least one ofthe debtors and another               entire property?          portion you own?

                                                        Q Check if this is community property (see                          300. 00                   300.00
                                                           instructions)



   If you own or have more than one, list here:

   4.2. Make: N/A                                       Who has an interest in the property? Check one.        Donotdeductsecured claims or exemptions. Put
                                                                                                               the amount of any secured claims on Schedule D:
           Model:                                       Q Debtor1 only                                         CreditorsWhoHave ClaimsSecuredby Property.
                                                        Q Debtor2 only
           Year:                                                                                               Current value of the      Current value of the
                                                        Q Debtor 1 and Debtor2 only
           Other information:                                                                                  entire property?          portion you own?
                                                        Q At leastoneofthedebtorsandanother

                                                        Q Checkifthisis communityproperty(see
                                                           instructions)




5. Addthedollarvalue ofthe portion you ownfor all ofyourentriesfrom Part2, includinganyentriesfor pages                                             1,700.00
  you have attached for Part 2. Write that number here




Official Form 106A/B                                    Schedule A/B: Property                                                                  page 3


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 Debtor 1      DEANNA LYN DAVIS                                                               Case number (ifknown)




Part 3:      Describe Your Personal and Household Items

                                                                                                                          Current value of the
Do you own or have any legal or equitable interest in any ofthe following items?                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.

6. Household goods and furnishings
   Examples:Majorappliances,furniture, linens, china, kitchenware
   a No
    0 Yes.Describe......... ]SEEATTACHMENT                                                                                                    1,784.00

7 Electronics
    Examples: Televisionsand radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
   a No
   0 Yes. Describe.......... SEE ATTACHMENT                                                                                                     122. 00
                             L



8. Collectibles of value
   Examples:Antiques andfigurines; paintings, prints, or other artwork; books, pictures, or otherart objects;
            stamp, coin, or baseballcard collections; othercollections, memorabilia, collectibles
   0 No
   Q Yes. Describe..                                                                                                                                 0. 00

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentrytools; musical instruments
   a No
   0 Yes.Describe.......... SEEATTACHMENT                                                                                                       177.00

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   a No
   0 Yes.Describe..........SEEATTACHMENT                                                                                                       400. 00

11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   a No
   0 Yes. Describe.......... SEE ATTACHMENT                                                                                                    515. 85


12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   a No
                                                                                                                                                    18.00
   0 Yes.Describe.,......... ^SEEATTACHMENT
l3. Non-farm animals
   Examples: Dogs, cats, birds, horses
   Q No
   Q Yes. Describe.                                                                                                                                  0. 00
                             ' [DOG_(5YoLcalI15^_o)
14.Any other personal and household items you did not alreadylist, including any health aidsyou did not list
   Q No
        Yes. Give specific                                                                                                                          50. 00
        information.............. PRESCRIPTIONGLASSES
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                               3 066. 85
    for Part 3. Write that number here



Official Form 106A/B                                     Schedule MB: Property                                                             page 4


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 Debtor1          DEANNA LY DAVIS                                                                   Case number (ffknown)
                    First Name         Middle Namn




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                     Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured claims
                                                                                                                                                or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   a No
   0 Yes.                                                                                                          Cash: ....................... $                      1. 00


17 Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   a No
   0 Yes.                                                                 Institution name:


                                       17.1. Checkingaccount:             Credit Union West                                                          $              21.00
                                       17.2. Checkingaccount:             Highmark Federal Credit Union                                              $                  1.79
                                       17.3. Savingsaccount:              Hi hmark Federal CU Savin s                                                $              12.68
                                       17,4. Savings account:                                                                                        $

                                       17. 5. Certificates of deposit:                                                                               $

                                       17.6. Other financial account:                                                                                $

                                       17.7. Other financial account:                                                                                $

                                       17. 8. Other financial account:
                                                                                                                                                     $

                                       17. 9. Other financial account:
                                                                                                                                                     $




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   0 No
   Q Yes.................              Institution or issuer name:




19. Non-publiclytraded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, andjoint venture

   0 No                                Nameofentity:                                                              % ofownership:
   Q Yes. Givespecific                                                                                             0%             »/
       information about
       them.........................                                                                               U7° %
                                                                                                                   0%             %




Official Form 106A/B                                                     ScheduleA/B: Property                                                                  pageS


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 oebtori         DEANNALYDAVIS                                                                   Case number vtknown)




20. Government and corporate bonds and other negotiable and non-negotiableinstruments
    Negotiableinstruments include personal checks, cashiers'checks, promissory notes, and moneyorders.
    Non-negotiableinstrumentsarethose you cannot transferto someone by signingor delivering them.

   0 No
   Q Yes. Givespecific               Issuer name:
        information about
       them.




21. Retirement or pension accounts
   Examples:Interests In IRA, ERISA,Keogh, 401(k), 403(b), thriftsavingsaccounts, or other pension or profit-sharing plans
   a No
   0 Yes. Listeach
        account separately.          Type of account:          Institution name:

                                     401(k)orsimilar plan: t~*ae"Iy                                                     $                   200. 00

                                     Pension plan:                                                                           $.

                                     \RA:                                                        $

                                     Retirement account:                                                                $

                                     Keogh:                                                                             $
                                     Additionalaccount:                                                                 $

                                     Additional account                                                                 $




22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples:Agreementswith landlords, prepaid rent, publicutilities (electric, gas, water), telecommunications
   companies, or others

   a No
   a Yes.                                                 Institution name or individual:

                                     Electric:            N/A                                                                $
                                                                                                                                                  0.00
                                     Gas:                 N/A                                                                $
                                                                                                                                                  0.00
                                     Heating oil:         N/A                                                                $
                                                                                                                                                  0.00
                                     Security deposit on rental unit:                                                        $-
                                                                                                                                                  0.00
                                     Prepaid rent:        N/A                                                                $
                                                                                                                                                  0.00
                                     Telephone:           N/A                                                                $-                   0.00
                                     Water:               N/A                                                                $
                                                                                                                                                  0.00
                                     Rented furniture:    NA
                                                                                                                             $
                                                                                                                                                  0.00
                                     Other                N/A
                                                                                                                             $
                                                                                                                                                  0.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   0 No
   Q Yes..........................   Issuername and description:
                                      N/A                                                                                                     0. 00




Official Form 106A/B                                                    Schedule A/B: Property                                           page 6


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 Debtor1     Deanna Lyn Davis                                                                   Case number (ifknown




24.Interests in an education IRA, in an account in a qualifiedABLEprogram, or undera qualified statetuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   0 No
     Yes .................................... institutionnameanddescription.Separatelyfiletherecordsofanyinterests. 11 U.S.C.§ 521(c):
                                                                                                                                         $                   0.00
                                     0. 00                                                                                               $                   0. 00
                                                                                                                                         $                   0.00

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   0 No
   Q Yes. Give specific
       information aboutthem.... |
                                                                                                                                                             0. 00

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples-. Internet domain names, websites, proceeds from royalties and licensing agreements
   0 No
   Q Yes. Give specific
       information about them....                                                                                                                            0.00


27 Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   0 No
   Q Yes. Give specific
       information about them....                                                                                                                            0. 00


Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28.Tax refunds owed to you
   0 NO
   Q Yes. Give specific information                                                                             Federal:            $-                  0. 00
            aboutthem, including whether
            you already filed the returns                                                                      State:               $                   0.00
            and the tax years.                                                                                                                          0.00
                                                                                                               Local:               $



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   0 No
   Q Yes. Givespecificinformation.
                                                                                                              Alimony: $                                 0.00
                                                                                                              Maintenance: $                             0.00
                                                                                                              Support: $                                 0.00
                                                                                                              Divorce settlement: $                      0.00
                                                                                                               Propertysettlement: $                     0. 00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   0 No
   Q Yes. Give specific information.
                                                                                                                                                        &




Official Form 106A/B                                       Schedule MB: Property                                                                    page 7


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 Debtor 1          DEANNA LYN DAVIS                                                                                                                Case number {Shnown)




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   a No
   0 Yes.Nametheinsurancecompany                                        companyname:                                                                  Beneficiary:                                     Surrender or refund value:
                 of each policy and list its value....
                                                                         HEALTH EQUITY                                                                                                                 $                 42.00
                                                                                                                                                                                                       $

                                                                                                                                                                                                       $

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   0 No
   Q Yes. Give specific information.                                                                                                                                                                                        0. 00

33. Claims againstthird parties, whetheror not you have filed a lawsuitor madea demandfor payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   a No
   Q Yes. Describe each claim.
                                                                                                                                                                                                                             0.00

34.Other contingentand unliquidatedclaims of every nature, including counterclaims ofthe debtorand rights
   to set off claims
   B No
   Q Yes. Describeeachclaim.                                                                                                                                                                                                0.00


35.Any financial assets you did not already list
   0 No
   Q Yes. Give specific information.                                                                                                                                                                                       0.00


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here....................................................................................................................................................   -^                          278. 47




Part 5:           Describe Any Buslness-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
   0 No. Goto Part6.
   (-1 Yes. Goto line38.
                                                                                                                                                                                                     Current value of the
                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                     or exemptions.

38.Accounts receivable or commissions you already earned
   a No
   Q Yes. Describe........
                                                                                                                                                                                                 <$                          0. 00

39. Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   0 No
   Q Yes. Describe.......                                                                                                                                                                                                    0. 00
                                                                                                                                                                                                 J




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  pages


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 oebton        DEANNALYDAVIS                                                              Case number {»known}
               First Name     Middle Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   0 No
   [-] YBS. Describe.,....,                                                                                                                         0. 00


41.Inventory
   61' No
   a Yes. Describe.......                                                                                                                           0.00


42. Interests in partnerships or joint ventures
   0 No
   a Yes. Describe....... ^ame ofentity:                                                                  % of ownership:
                                                                                                                 -%         $,                      0.00
                                                                                                                 _% $
                                                                                                                 .
                                                                                                                     % $


43.Customer lists, mailing lists, or other compilations
   0 No
   Q Yes. Do your lists include personally identifiable information (as defined in 11 U. S.C. § 101(41A))?
          a No
          a Yes. Describe........
                                                                                                                                                   0. 00

44.Any business-retated property you did not already list
   0 No
   Q Yes. Give specific                                                                                                      $                     0. 00
       information
                                                                                                                             $

                                                                                                                             $

                                                                                                                             $

                                                                                                                             $

                                                                                                                             $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                     0.00
    for Part 5. Write that number here




Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46.Do you own or have any legal or equitable interest in anyfarm- or commercial fishing-relatedproperty?
   0 No. Go to Part 7.
   a Yes. Goto line47
                                                                                                                            Current value of the
                                                                                                                            portion you own?
                                                                                                                            Do not deduct secured claims
                                                                                                                            or exemptions.
47 Farm animals
   Examples: Livestock, poultry, farm-raised fish
   0 No
   a Yes..
                                                                                                                                                   0. 00


Official Form 106A/B                                      Schedule A/B: Property                                                         page 9


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  D6btor1
                DB1N NA LY1DWIS
                 First Name     MMdleName        Last
                                                 ^^   Name
                                                                                                  Casenu^r.^




 48.Crops-eithergrowing or harvested
     0 No
     Q Yes.Givespecific
        information.                                                                                                                                    0. 00

 49.Farmandfishingequipment, implements, machinery,fixtures, andtools oftrade
    0 No
     a Yes.,
                                                                                                                                                        0.00
 50. Farm and fishing supplies, chemicals, and feed
    0 No
    a Yes..
                                                                                                                                                        0.00
 51. Any farm. and commercial fishing-related property you did not already list
    0 No
    Q Yes. Give specific
        information..                                                                                                                                   0.00

 52.Add the dollarvalueofall ofyourentriesfrom Part6, includinganyentriesforpagesyou haveattached                                                       0.00
    for Part 6. Write that number here




 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

53, Do you have other property of any kind you did not already list?
    Examples:Seasontickets, countryclub membership
    0 No
                                                                                                                                                    0. 00
    Q Yes. Give specific                                                                                                               $
       information.                                                                                                                    $

                                                                                                                                       $


54.Add the dollar value of all of your entries from Part 7. Write that number here                                                                  0. 00



Part 8:      List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.                                                                                    .   -» $         211,000.00

56.Part 2: Total vehicles, line 5                                         $          1, 700. 00

57.Part 3: Total personal and household items, line 15                    $          3, 066.85

58. Part 4: Total financial assets, line 36                               $           278.47

59.Part 5: Total business-relatedproperty, line 45                       $               0. 00

60,Part 6: Total farm- and fishing-related property, line 52             s               0. 00

61.Part 7: Total other property not listed, line 54                    +$                0.00

62.Total personal property. Add lines 56 through 61.                     $           5,045.32                                                 5, 045. 32
                                                                                                  Copypersonalpropertytotal -^ + $


63.Total of all property on ScheduleA/B. Add line 55 + line 62.                                                                  ij,       216, 045. 32

Official Form 106A/B                                         ScheduleA/B: Property                                                            page 10


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 Fill in this information to identify your case:

 Debtor 1         DEANNA LYN DAVIS
                   First Name            Middle Name

 Debtor2
 (Spouse, if filing) FirstName           MiddleName

 UnitedStatesBankruptcyCourtforthe:DistrictofArizona
 Case number                                                                                                                        1-1 Check if this is an
  (Ifknown)
                                                                                                                                       amended filing



Official Form 106C
Schedule -                                      o e                            I i         as                                                        04/19

Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
spaceis needed,fill outandattachto this pageas manycopiesofPart2:AdditionalPageas necessary.Onthe top ofanyadditionalpages,write
your name and case number(if known),
Foreach item of property you claim as exempt, you must specifythe amount ofthe exemption you claim. One wayof doing so is to state a
specificdollaramountasexempt. Alternatively, you mayclaimthefull fairmarketvalueofthe property beingexempted up to the amount
ofanyapplicablestatutory limit Someexemptions-suchasthosefor health aids, rightsto receivecertain benefits, andtax-exempt
retirement funds-may be unlimited in dollaramount. However, if you claim an exemption of 100%of fair market value undera lawthat
limits the exemption to a particulardollar amount and the value of the property is determined to exceedthat amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt


 1. Whichset of exemptions are you claiming? Checkone only, even ifyour spouse is filing withyou.
     0 Youareclaimingstateandfederalnonbankruptcyexemptions. 1 1 U.S.C.§ 522(b)(3)
     a You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. Forany property you list on Schedule AIBthat you claim as exempt, fill in the information below.

      Brief description of the property and line on    Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      ScheduleA/Bthat lists this property              portion you own
                                                       Copythe value from     Checkonly one box foreachexemption.
                                                       Schedute A/B

     Bn'ef                                                                                                            A. R. S. §33-1101
     description:
                            SINGLEFAM HOME             $211 ,000.00           a$
      Line from
                                                                              0 100% offair market value, upto
      Schedule A/B:         1.1                                                  any applicable statutory limit


     Brief
     description:
                            CHEV BLAZER                $1,400. 00             E|$1,400. 00                            A.R.S.§33-1125(8)
     Line from
                                                                              Q 100% offair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
                            COVENTRAILOR               $300. 00               0 $ 300. 00                             A. R. S. §33-1125(8)
     description:
     Line from
                                                                              Q 100%affairmarketvalue, upto
      ScheduleA/B: 4.1                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170, 350?
    (Subjectto adjustmenton 4/01/22and every 3 years afterthatfor casesfiled on or afterthe date ofadjustment.)
     0 NO
     Q Yes. Didyou acquire the property covered bythe exemption within 1,215 days before you filed this case?
            0 No
            a Yes


Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                          page 1 of.


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Debtor 1          DEANNA LYN DAVIS                                                             Case number (ffknown)




  Part 2:     Additional Page

       Brief description of the property and line      Current value of the     Amount of the exemption you claim       Specific laws that allow exemption
       on ScheduleA/B that lists this property         portion you own

                                                       Copythe value from       Checkonly one boxfor eachexemption
                                                       Schedule A/B

      Brief                                                                                                            A. R. S. §33-1129
      description:
                       HOUSEHOLDGOOD                   $         1, 784. 00     a$
      Line from        6^                                                       3100% affair market value, up to
      Schedule A/B:                                                                any applicable statutory limit

      Brief                                                                                                            A.R.S. §33-1123
      description:
                       ELECTRONICS                     $              122.00    a$
      Line from
                                                                                0100% affair market value, up to
                       7                                                           any applicable statutory limit
      Schedule A/B:


      Brief                                                                                                            A. R. S. §33-1125(7)
                       EQUIPSPORTS                     $              177. 00
      description:
      Line from
                                                                                0100% affair market value, up to
                       9
      Schedule A/B:                                                                any applicable statutory limit

      Brief            FIREARM                                        400.00
                                                                                                                       A.R.S. §33-1125(7)
      description:
                                                       $                        a$
      Line from        10                                                       S?100%affairmarketvalue,upto
      Schedule A/B:                                                                any applicable statutory limit

      Brief                                                           515.85
                                                                                                                       A.R.S. §33-1125(1)
                       CLOTHES                         $                        as
      description:
      Line from
                                                                                0100% affair market value, up to
      Schedule A/B:
                       11                                                          any applicable statutory limit


      Brief            JEWLERY                                         18.00
                                                                                                                       A.R.S. §33-1125(6)
      description:
                                                       $                        a$
                                                                                0 100% affair market value, up to
      Line from        12                                                          any applicable statutory limit
      Schedule A/B:

      Brief            PRESCRGLASSES                                   50.00
                                                                                                                       A.R.S. §33-1125(1)
      description:
                                                       $                        a$
      Line from        14                                                       0 100%affairmarketvalue,upto
      Schedule A/B:                                                                any applicable statutory limit

      Brief            CASH                                             1.00
                                                                                                                       A.R.S. §33-1126(9)
      description;                                     $                        a$
      Linefrom
                                                                                0100% affair market value, up to
      ScheduleA/B:
                      M_                                                           any applicable statutory limit


      Brief            DEPO OF MONEY                                   35.47
                                                                                                                       A.R.S. §33-1126(9)
      description:                                     $                        a$
                                                                                BT 100% offair market value, up to
      Line from        17                                                          any applicable statutory limit
      Schedule A/B:

      Brief            401 K                                          200. 00
                                                                                                                       A.R.S. §33-1126(9)
      description:
                                                       $                        a$
      Line from        21                                                       0100% affair market value, up to
      Schedule A/B:                                                                any applicable statutory limit

      Brief                                                                                                            A. R. S. §33-1126(9)
                       HSA                             $               42.00    a$
      description:
      Line from
                                                                                   100% affair market value, up to
      Schedule A/B:
                       31                                                          any applicable statutory limit


      Brief
      description:
                                                       $                        a$
      Line from
                                                                                Q 100%affairmarketvalue, upto
      Schedule A/B:                                                                any applicable statutory limit


Official Form 106C                                    Schedule C:                                                                       page 2 of 2


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Debtor: Deanna Lyn Davis
Schedule A/B Attachment Part 3:


       PART3: PERSONALANDHOUSEHOLDITEMSATTACHMENT


       Line Num       Item                                    Category              MY VALUE

                  6   2 artificial plants                     Household Goods       $          5. 00
                  6   2 book shelves                          Household Goods       $      40.00
                  6   2 chest of drawers                      Household Goods       $      40.00
                  6   2 file cabinets                         Household Goods       $      10.00
                  6   2 laundry baskets                       Household Goods       $       2.00
                  6   4 lamps                                 Household Goods       $          4. 00
                  6 bathroom bench                            Household Goods       $       5. 00
                  6   books                                   Household Goods       $      25.00
                  6   broom                                   Household Goods       $       1.00
                  6   Chess game                              Household Goods       $       2.00
                  6   couch & love seat                       Household Goods       $      40.00
                  6   end table                               Household Goods       $       2, 00
                  6   kitchen table & chairs                  Household Goods       $      40. 00
                  6   kitchenware                             Household Goods       $     100.00
                  6 linens                                    Household Goods       $      25.00
                  6 mirror                                    Household Goods       $      10.00
                  6 mop                                       Household Goods       $       1.00
                  6 rake                                      Household Goods       $       1.00
                  6   refrigerator                            Household Goods       $     200.00
                  6   rocking chair & ottoman                 Household Goods       $      25.00
                  6 sea shells                                Household Goods       $       1.00
                  6   shovel                                  Household Goods       $       1.00
                  6   sleeping bag                            Household Goods       $       5. 00
                  6 vacuum                                    Household Goods       $      50. 00
                  6   washer& dryer                           Household Goods       $     400.00


                      TOTAL                                                  TOTAL $     2,735.00
                  7   printer                                 Electronics           $       20.00
                  7   radio                                   Electronics           $        2.00
                  7   tv                                      Electronics           $      100.00


                                                                             TOTAL $      122.00
                  9 guitar                                    Equipment for sports & $      2.00
                  9 piano                                     Equipmentfor sports & $     150. 00
                  9 sewing machine                            Equipment for sports & $     25.00


                                                                             TOTAL $      177.00
               10 H&KP30                                      Firearms              $     400.00




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Debtor: Deanna Lyn Davis
Schedule A/B Attachment Part 3:

       Line Num Item                                         Category         MY VALUE



                                                                        TOTAL $        400. 00
               11 7 dresses                                  Clothes          $          7. 00
               11 1 blazer                                   Clothes          $          1.00
               11 1 hoodie                                   Clothes          $          0.50
               11 1 swimming suit                            Clothes          $          1.00
               11 12 sweaters                                Clothes          $          3.00
               11 13 blouses                                 Clothes          $          4.00
               11 151 shirts                                 Clothes          $          3.00
               11 2 pair leggins                             Clothes          $          0.50
               11 2 pair work shoes                          Clothes          $          2.00
               11 24 pairs of jeans                          Clothes          $         10.00
               11 3 body suits                               Clothes          $          1.50
               11 3 pair tennis shoes                        Clothes          $          3. 00
               11 4 hats                                     Clothes          $          2.00
               11 5 purses/toes/book bags                    Clothes          $          2. 50
               11 5 tank tops                                Clothes          $          2.00
               11 7 belts                                    Clothes          $          2.00
               11 7 pairs of boots                           Clothes          $         35.00
               11 7 pairsof dress pants                      Clothes          $         10. 00
                  Alberto Makali Black Cocktail Dress With
               11 Leather Shoulder Stra s Size M             Clothes          $          4.99
               11 All & Ja Bod -Con White Dress              Clothes          $          8. 99

               11 Antelope 772 LeatherAnkle Boots Size [36] Clothes                      9. 99
                  Anton Morato Shorts Nero Men
               11 Trousers Pantaloons Size W34               Clothes          $          5. 99
               11 apron                                      Clothes          $          1.50
               11 Astr Red Mini Skirt size SM                Clothes          $          2. 99
               11 B. C. B. Generation Ankle Boots            Clothes          $          6. 99
                  BCA b RebeccaVirtue CUTOUTONE Piece
               11 Black Swimsuit Size M                      Clothes          $          4. 99
                  BCAb Rebecca Virtue CUT OUT ONE Piece
               11 Black Swimsuit Size S                      Clothes          $          4.99

               11 BELLA -VISTA 'Zia' Double Monk Stra Pum    Clothes          $          9.99
                  Billabon Sol Searcher Cutout Halter One
               11 Piece Swimsuit Size L                      Clothes          $          4.99
                  Blondo Tami Water roof Boot Black Size 9
               11 1/2                                        Clothes          $          6.99
                  Cecelia New York 'Emmie' Suede Lucite
               11 Heeled Boot Size 8                         Clothes          $          9.99
                  Chooka Women's Red Eastlake Duck Boot -
               11 Water roof Soles SIZE 5                    Clothes          $          4. 99




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Debtor: Deanna Lyn Davis
Schedule A/B Attachment Part 3:
       Line Num Item                                            Category    MY VALUE
                  Chooka Women's Red Eastlake Duck Boot -
               11 Water roof Soles SIZE 6                       Clothes     $          4. 99
                  dark s Ara a Hale Gra Suede Lace u
               11 Shoes Size US-9                               Clothes     $          6.99
               11 Cordani Faith Brown Boots 7M New 363          Clothes     $          6.99
               11 Cotton Em orium Ri      ed White Sweater      Clothes     $          6.99
                  Derek Lam 10 Crosb In a Lace-U Calf Hair
               11 Sandals Size 8                                Clothes              12. 99
                  Elizabeth and James Sleeveless Fit & Flare
               11 Minidress Size 6                              Clothes     $          8.99
               11 En4orce skull shirt                           Clothes     $          1.00
               11 es i Glam One Piece Swimsuit - Black - S P    Clothes     $          4.99
                  FENDI Chelsea RUNWAY Wed e Ankle Boot
               11 Moka & Black Bootie SZ 34 EU                  Clothes              16. 99
                  Fundamentals of Electric Circuits b
                  Matthew N. 0. Sadiku and Charles K.
               11 Alexand                                       Clothes     $          2. 00
                  Gre Norman Men's 100% Cotton Lux Shark
               11 T-Shirt with Chest Pocket                     Clothes     $          6. 99
                  Gre Norman Men's 100% Cotton Lux Shark
               11 T-Shirt with Chest Pocket                     Clothes     $          1.00
                  Guess Mira e Geometric Stitch Banda e
               11 Skirt                                         Clothes     $          2. 99
               11 Guess T Shirt Red Haze Multi                  Clothes     $          1.00

               11 Harlowe & Graham      Romantic Scarf Blouse   Clothes     $          1.00
               11 helsea 28 Blue Lace Mini Skirt Size S         Clothes     $          2. 99
               11 H brid Green Label Shoes Size 7               Clothes     $          2. 99
                  J. Crew Pi ue Ruffle Halter One Piece Black
               11 Swimsuit Size 14                              Clothes     $          4. 99
               11 Joe Fresh Car o Green Shorts Size W 38        Clothes     $          1.00
               11 John & Jenn Cold-Shoulder Sweater             Clothes     $          7. 99
               11 Jolt Ponte Printed Mini Skirt                 Clothes     $          2.99
                  Kenneth Cole V-Neck Crisscross Back One
               11 Piece Swimsuit Size M                         Clothes     $          4.99
                  KENNETHCOLEWOMEN'SKAM PATENT
               11 LEATHERSNEAKER                                Clothes     $          4.99

                  La Blanca Deco Stud Embellished Hi h Neck
               11 Tumm Toner One-Piece Swimsuit Size 6          Clothes     $          4.99
                  La Blanca Island Goddess Bandeau One
               11 Piece Swimsuit Size 4                         Clothes     $          4. 99
                  LA BLANCALA BLANCAHI NECKMONOKINI
               11 Size F121                         Clothes                 $          4. 99
               11 Leith bri ht Red Cro To                       Clothes     $          1.00
               11 Leith Hi h Waist Mini Skirt Size M            Clothes     $          2. 99




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Debtor: Deanna Lyn Davis
Schedule A/B Attachment Part 3:
       Line Num   Item                                            Category   MY VALUE
                  Libert Garden Ve an Faux Suede A        li ue
               11 Mini Skirt                                      Clothes    $          2. 99
                  LUCKY BRAND Men sT-Shirt XL-Bei e
               11 Motorcvclel                                     Clothes    $          1.00
                  LUCKY BRAND Men s T-Shirt XXL-Gra
               11 Guitarl                                         Clothes    $          1.00
               11 MAGGYLONDONPETITESBLACKDRESS                    Clothes    $          8.99
                  Mercer Edit Casside Studded Ca Toe
               11 Bootie Size 7.5                                 Clothes    $          6.99
               11 MERCEREDITLook B4U Bootie Size7 37              Clothes    $          9.99
               11 NEW Komarov Blue Iris Ombre Dress               Clothes    $          8.99
               11 Notation Ivo      Blouse                        Clothes    $          1.00
               11 O'Neill Stri cd Black Shorts                    Clothes    $          3. 99
               11 0 en Ceremon Mini Skirt                         Clothes    $          2. 99
               11 Painted Threads Black Velvet Shirt              Clothes    $          4. 99
                  Physics for Scientists and Engineers : A
               11 Strategic Approach by Randatl D. Knight         Clothes    $          2.00
               11 Puma Evostri e Tee                              Clothes    $          2. 99
               11 Puma Evostri e Tee                              Clothes    $          2.99
                  RAG & BONE RB1 Velvet Platform Sneakers
               11 Size F36.51                                     Clothes    $          6.99
                  RAG & BONE RB1 Velvet Platform Sneakers
               11 Size [36]                                       Clothes    $          6.99
                  Ra & Bone Sheridan Ribbed-Knit Skirt in
               11 White-Size: Small                               Clothes    $        15.99
                  Red Carter S lice & Dice Halter One Piece
               11 Swimsuit Size M                                 Clothes    $          4.99
                  Sam Edelman WOMEN'S LUTHER FAUX
               11 SHEARLINGHIGHTOPSNEAKERSize 9                   Clothes    $          9. 99
               11 Sanctua       Maroon Lace Mini Skirt Size S     Clothes    $          2.99
               11 socks                                           Clothes    $          2.00
                  Stuart Weitzman Inste Velvet Block-Heel
               11 Booties Size 512                                Clothes    $          6.99
                  THE VANIT/ ROOM BLACK SLINKY DRESS
               ii SIZE rxsi                                       Clothes    $          8. 99
                  Tods Ra uoise Patent Leather And Suede
               11 Ankle Boots Size 38.5                           Clothes    $          6.99
                  Tomm Bahama Baracoa Plaid Linen Short
               11 SizeW30                                         Clothes    $          3. 99

               11 Tomm Bahama Blue Shirt with Palm Trees          Clothes    $          6.99
                  Tomm Bahama Pearl Twist-Front Bandeau
               11 One Piece Swimsuit                              Clothes    $          4.99
               11 Tommy Bahama Shirt with Palm Trees              Clothes    $          6.99
               11 Tommy Bahama Shirt with Palm Trees              Clothes    $          6.99
               11 To Sho Dresses Size 0                           Clothes    $          5. 99




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Debtor: Deanna Lyn Davis
ScheduleA/B Attachment Part 3:




      Line Num   Item                                      Category            MY VALUE
                 TOP SHOT One Piece Black White Swimsuit
              11 rsize 81                                  Clothes             $          4. 99
                 TOPSHOP NEW White Ivo       Embroidered
              11 Lace Women's Size 2 A-Line Skirt          Clothes             $          2. 99
                 TOPSHOP Rust Suede Tri Ie Buckle Ankle
              11 Boots                                     Clothes             $          5.99
                 To Sho She ISIin back Green Shoe Size
              11 38                                        Clothes             $          4.99
              11 undergarments                             Clothes             $          1.00
                 YMI Swimwear Loose Mesh Plun in
              11 Neckline One Piece Swimsuit Size M        Clothes             $          4.99
                 YMISwimwearPlun in Front Knot One
              11 Piece Swimsuit Size L                     Clothes             $        4.99


                                                                         TOTAL $      196.70
              12 1 watch                                   Jewlery             $       10.00
              12 12 pair earrings                          Jewlery             $        8.00


                                                                         TOTAL $       18.00
              14 Prescription Glasses                      Health Aide         $      50.00



                                                                         TOTAL $      50. 00




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 Fill in this information to identify your case:

 Debtor1           DEANNALYN DAVIS
                     First Name                 Middle Nama

 Debtor2             N/A
 (Spouse, if filing) First Name                 Middle Name

 United StatesBankruptcyCourtforthe: Districtof Arizona

 Case number
 (Ifknown)                                                                                                                                            Q Check ifthis is an
                                                                                                                                                         amended filing

 Official Form 106D
 Schedule D: Creditors                                           Jio Have Claims Secured by Prop                                                  '                  12/15
 Beas complete andaccurateas possible. Iftwomarried peoplearefilingtogether, bothareequallyresponsibleforsupplying correct
 information.Ifmore spaceis needed,copytheAdditionalPage,fill it out, numberthe entries, andattach it to thisform. Onthetop of any
additional pages,write your nameand case number(if known).

1. Do any creditors have claims secured by your property?
    a No.Checkthisboxandsubmitthisformtothecourtwithyourotherschedules.Youhavenothingelsetoreportonthisform.
    0 Yes. Fillinall ofthe information below.

Part 1:        List All Secured Claims
                                                                                                                      Column A               Column B              Column C
2. Listall securedclaims.Ifa creditorhasmorethanonesecuredclaim,listthecreditorseparately Amountofclaim                                      Value of collateral   Unsecured
   for each claim. Ifmore than one creditor hasa particular claim, list the othercreditors in Part 2.                 Do not deduct the      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.                       value of collateral.   Claim                 Ifany
   l LAKEVIEWLOANSRVCGLLC                                Describe the property that secures the claim:                $     201,491.00 $ 211,000.00$
    Creditor'sName
     3637 SENTARAWAY                                    7599 W NicoletAve GlendaleAZ
    Number            Street                            Single family home
    SUITE303                                             As of the date you file, the claim is: Checkall thatapply.
                                                         Q Contingent
    VIRGINIABEACH VA 23452                               Q Unliquidated
    City                          State ZIPCode          Q Disputed
 Who owes the debt? Check one.                           Nature of lien. Checkall that apply.
 01 Debtor1 only                                         Br Anagreement you made(such asmortgage orsecured
 Q Debtor2 only                                                car loan)
 Q Debtor 1 and Debtor 2 only                            Q Statutorylien(suchastaxlien,mechanic'slien)
 a At leastone ofthe debtors and another                 Q Judgmentlienfroma lawsuit
                                                         1-1 Other (including a rightto offset)
 Q Check if this claim relates to a
      community debt
 Datedebtwasincurred 08/17/2017                          Last4 digits of account number.
    MULCAHY LAW FIRM PC                                 Describethe property that secures the claim:                               986.31 $ 211,000.00$
   Creditor's Name

    3001 E CAMELBACKROAD                               see 2.1
   Number            Street

    SUITE 130                                           As ofthe date youfile, the claim is: Checkallthatapply.
                                                        (-1 Contingent
    PHOENIX                       AZ 85016              a Unliquidated
   City                           State   ZIPCode       Q Disputed
 Who owes the debt? Check one.                          Nature of lien. Checkall that apply.
 a Debtor1 only                                         1-1 Anagreement youmade(suchasmortgage orsecured
 Q Debtor2 only                                               car loan)
 0 Debtor1 andDebtor2 only                              a Statutorylien(suchastaxlien,mechanic'slien)
 1-1 At least one ofthe debtors andanother              Q Judgmentlienfroma lawsuit
                                                        B' Other(includinga righttooffset)H(-)A
 Q Check if this claim relates to a
      community debt
 Datedebtwasincurred 06/25/201 £                        Last 4 digits of account number

   Add the dollar value of your entries in Column A on this page. Write that number here:                                  202. 477. 31

Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                                 page1 of1_

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       Fill in this information to identify your case:

       Debtor1           Deanna Lyn Davis
                          First Name               Middle Name

       Debtor 2
       (Spouse, if filing) First Name              Middle Name

       United States BankmptcyCourtforthe: _                     District of
                                                                                                                                          a Check if this is an
       Case number
       (If known)                                                                                                                             amended filing


  Official Form 106E/F
  Schedule E/F: Creditors                                                o Have Unsecured Claims                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

  Part 1:            List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
         lid No. Go to Part 2.
         a Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
     each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
     nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
     unsecured claims, fill out the Continuation Pageof Part 1 . If more than one creditor holds a particularclaim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                          Total claim      Priority     Nonpriority
                                                                                                                                        amount         amount

!2.1
            N/A                                                         Last4 digits of account number
           Priority Creditor's Name
                                                                        When was the debt incurred?
           Number            Street

                                                                        As of the date you file, the claim is: Check all that apply.

           City                            State   ZIPCode
                                                                        Q Contingent
                                                                        a Unliquidated
           Who incurred the debt? Check one.
                                                                        a Disputed
            1-1 Debtor 1 only
            1-1 Debtor2 only                                            Type of PRIORITYunsecured claim:
            Q Debtor 1 and Debtor 2 only                                D Domesticsupportobligations
           Q At least one of the debtors and another
                                                                        Q Taxes and certain other debts you owe the government
           Q Checkifthisclaim isfora communitydebt                      Q Claimsfordeathorpersonalinjurywhileyouwere
                                                                               intoxicated
           Is the claim subject to offset?
           D No                                                         Q Other.Specify

            N/A                                                         Last4 digits of account number
           Priority Creditor's Name
                                                                       When was the debt incurred?
           Number            Street
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                        Q Contingent
           City                            Slate   ZIPCode              [.] Unliquidated
           Who incurred the debt? Checkone.                             1-1 Disputed
           1-1 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
           Q Debtor2 only
                                                                        Q Domestic support obligations
           Q Debtor 1 and Debtor2 only
           Q At least one of the debtors and another                    Q Taxes and certain other debts you owe the government
                                                                        Q Claims for death orpersonal injury whileyou were
           Q Checkifthisclaimisfora communitydebt                              intoxicated

           Is the claim subject to offset?                              E-l Other.Specify
           Q No
           a Yes

 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                   page 1 of

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  Debtor 1            Deanna Lyn Davis                                                                    Case number (i?known)


      Part 2:         List All of Your NONPRIORITYUnsecured Claims

  3. Do any creditors have nonpriority unsecured claims againstyou?
                No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecuredclaim, listthe creditorseparatelyforeach claim. Foreach claim listed, identifywhattype ofclaim it is. Do not list claims already
        includedin Part 1. If more than one creditor holds a particularclaim, listthe othercreditors in PartS.lf you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
         Ability Recovery Services                                                   Last4 digitsofaccountnumber_2_ OOP
         NonpriorityCreditor's Name                                                                                                                       $            500.00
         PO Box4262                                                                  Whenwasthedebtincurred? 07/01/2017
         Number           Street

         Scranton                                     PA          18505
         City                                        State       ZIPCode             As of the date you file, the claim is: Checkall thatapply.

                                                                                     1-1 Contingent
         Who incurred the debt? Check one.                                           Q Unliquidated
         0 Debtor1 only                                                              LI Disputed
         Q Debtor2 only
         Q Debtor 1 and Debtor2 only                                                 Type of NONPRIORITY unsecured claim:
         Q At least one of the debtors and another                                   Q Studentloans
         Q Check if this claim is for a community debt                               Q Obligations arising out ofa separation agreement ordivorce
                                                                                         that you did not report as priority claims
         Is the claim subject to offset?                                             Q Debtstopensionorprofit-sharingplans,andothersimilardebts
         0 No                                                                        St Other. Specify Utili
         a Yes

         Capital One Bank USA                                                        Last4 digitsofaccountnumber 4 9 4 1                                            8;235. 00-!
         Nonpriority Creditor's Name                                                Whenwasthedebtincurred?                  07/0172018"
         PO Box 30285
         Number           Street

         Salt LakeCity                               UT           84130             As of the date you file, the claim is: Check all that apply.
         City                                        State       ZIPCode
                                                                                     LI Contingent
         Who incurred the debt? Check one.                                           Q Unliquidated
         0 Debtor1 only                                                              Q Disputed
         Q Debtor2 only
         Q Debtor1 andDebtor2 only                                                  Type of NONPRIORITY unsecured claim:
         Q At least one of the debtors and another                                   Q Studentloans
                                                                                     Q Obligationsarisingoutofa separationagreementordivorce
         1-1 Checkifthisclaimis fora communitydebt                                      that you did not report as priority claims
         Is the claim subjectto offset?                                              a Debtsto pension or profit-sharing plans, and other similar debts
         0 No                                                                        BT Other.Specify CC
         a Yes
4.3
         Capital One Bank USA                                                       Last 4 digits ofaccount number             6      2   5 0                       8,263.00
         Nonpriority Creditor's Name
                                                                                    Whenwasthe debt incurred?                07/01, 2018
         PO Box 30285
         Number

         Salt Lake City                              UT           84130
         City
                                                                                    As of the date you file, the claim is: Checkall thatapply.
                                                     State       ZIPCode
                                                                                    U Contingent
         Who incurred the debt? Check one.
                                                                                    D Unliquidated
         HT Debtor 1 only
                                                                                    1-1 Disputed
         Q Debtor2 only
         Q Debtor1 andDebtor2 only                                                  Type of NONPRIORITY unsecured claim:
         Q At leastoneofthedebtorsandanother
                                                                                    Q Studentloans
         Q Checkifthisclaimis fora communitydebt                                    Q Obligations arising out ofa separation agreement ordivorce
                                                                                        that you did not report as priority claims
         Is the claim subject to offset?
                                                                                    01 Debts to pension or profit-sharing plans, and othersimilar debts
         S? No
                                                                                    S Other. Specify CC
         a Yes


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        paae2 of ^ I

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 Debtor 1       Deanna Lyn Davis                                                                  Case number i.iihnom}
                  First Name         MktdteNama



  Part 2:       Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim



4.4
       Discover Financal Service LLC                                            Last4 digitsofaccountnumber 1 6 5 0                                         $ 9, 795.00
       Nonpriority Creditor's Name

       PO Box 15316
                                                                                Whenwasthedebtincurred? 071°1/2018
       Number          Street
                                                                                As of the date you file, the claim is: Checkall thatapply.
       Wilmington                                   DE          19850
       City                                        State       ZIPCode          Q Contingent
                                                                                a Unliquidated
       Who incurred the debt? Check one.                                        Q Disputed
       B' Debtor1 only
       Q Debtor2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor2 only                                              Q Student loans
       L.] At least oneofthe debtors and another                                Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                    you did not report as priority claims
       Q Check if this claim is for a community debt
                                                                                Q Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                          VS Other. Specify CC
       0 No
       a Yes

4.5
       DSNB/Macy's                                                              Last4 digitsofaccountnumber 6 6 9 8                                         llz^
       NonpriorityCreditor'sName                                                                                                                      -s?
                                                                                Whenwasthedebtincurred? 07/01,2005
       PO Box 8218
      Number           Street
                                                                                As of the date you file, the claim is: Checkall thatapply.
       MASON                                       OH          45034
      CHy                                          State      ZIPCode           0 Contingent
                                                                                a Unliquidated
      Who incurred the debt? Checkone.                                          Q Disputed
      S Debtor 1 only
      Q Debtor2 only                                                            Type of NONPRIORITK unsecured claim:
      Q Debtor 1 and Debtor 2 only                                              Q Student loans
       Q At least one of the debtors and another
                                                                                Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                    you did not report as priority claims
       Q Check if this claim is for a community debt
                                                                                Q Debts to pension or profit-sharing plans, andother similar debts
      Is the claim subject to offset?                                               Other. Specify CC
       0 No
       a Yes

                                                                                                                                                                623. 00
      KOHLSDEPARTMENTSTORE                                                      Last4 digitsofaccountnumber 5               3   7 6
      Nonpriority Creditor's Name
                                                                               Whenwasthedebtincurred? 11/20/2008
      PO BOX3115
      Number          Street
                                                                               As of the date you file, the claim is: Checkall thatapply.
      MILWAUKEE                                    Wl          53201
      City                                         State      ZIPCode           Q Contingent
                                                                                Q Unliquidated
      Who incurred the debt? Check one.                                         1-1 Disputed
      B Debtor 1 only
      Q Debtor2 only                                                           Type of NONPRIORITYunsecured claim:
      Q Debtor 1 and Debtor 2 only                                              Q Studentloans
      Q At least one of the debtors and another
                                                                               Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                   you did not report as priority claims
      Q CheckIfthisclaimisfora communitydebt
                                                                               Q Debtsto pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           0 Other. Specify CC
      0 No
      QYBS




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    page3_of.

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 Debtor1         Deanna Lyn Davis                                                                  Case number (»known]
                  First Name         Middle Name      Last Name



  Part 2:       Your NONPRIORITYUnsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4. 5, and so forth.                                               Total claim



4.71                                                                            Last4 digitsofaccountnumber 5 8 3 4                                         579. 00
       NonpriorityCreditor'sName
                                                                                Whenwasthedebtincurred? 08/01/2007
       13531 ECALEYAVENUE
       Number          Street
                                                                                As of the date you file, the claim is: Checkall thatapply.
       ENGLEWOOD                                   co              80111
       City                                        State          ZIPCode       Q Contingent
                                                                                [.I Unliquidated
       Who incurred the debt? Checkone.                                         a Disputed
       Of Debtor 1 only
       Q Debtor2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor1 andDebtor2 only                                                1-1 Studentloans
       Q At least one of the debtors and another
                                                                                l-l Obligations arising out ofa separation agreement or divorce that
                                                                                    you did not report as priority claims
       Q Check if this claim is for a community debt
                                                                                Q Debtstopensionorprofit-sharingplans,andothersimilardebts
       Is the claim subject to offset?                                          VS Other.Specify CC
       0 NO
       a Yes


4.8
       NORDSTROM                                                                Last4 digits ofaccount number 6             6   9 8                    $ 1, 318. 001
       NonpriorityCfeditor's Name
                                                                                Whenwasthedebtincurred? 07/01/2018
       PO BOX79137
       Number          Street
                                                                                As of the date you file, the claim Is: Checkall thatapply.
       PHOENIX                                     AZ              85062
       City                                        Slate          ZIP Code      B> Contingent
                                                                                a Unliquidated
       Who incurred the debt? Check one.                                        Q Disputed
       0 Debtor 1 only
       Q Debtor2 only                                                           Type of NONPRIORITY unsecured claim:
       1-1 Debtor 1 and Debtor2 only                                            Q Student loans
       Q At least oneofthe debtors and another                                  Q Obligationsarisingoutofa separationagreementordivorcethat
                                                                                    you did not report as priority claims
       Q Check if this claim is for a community debt
                                                                                [-1 Debtsto pensionor profit-sharingplans, andothersimilardebts
       Is the claim subject to offset?                                          BT Other.Specify CC
       0 No
       a Yes

                                                                                                                                                         1, 905.00
       PAID IN FULL                                                             Last4 digits ofaccount number 5             8   3 4
       Nonpriority Creditor's Name
                                                                                Whenwasthedebtincurred? 08^01,2014
       PO BOX43228
       Number          Street
                                                                                As of the date you file, the claim is: Check all thatapply.
       PHOENIX                                     AZ              85080
       City                                        State          ZIP Code      d Contingent
                                                                                a Unliquidated
       Who incurred the debt? Checkone.                                         1-1 Disputed
       0 Debtor1 only
       1-1 Debtor2 only                                                         Type of NONPRIORITY unsecured claim:
       Q Debtor1 andDebtor2 only                                                1.3 Studentloans
       Q At least one ofthe debtors and another
                                                                                Q Obligations arising out ofa separation agreement or divorce that
                                                                                    you did not report as priority daims
       Q CheckifthisclaimIsfora communitydebt
                                                                                Q Debtstopensionorprofit-sharingplans,andothersimilardebts
       Is the claim subject to offset?                                          Bf Other. Specify CC
       0 No
       a Yes



Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               page4_of.

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 Debtor1         DEANNA LYN DAVIS                                                                     Case number Wknown
                  First Name         Middle Name



  Part 2:       Your NONPRIORITYUnsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                Total claim



|5.0
       SYNCB/CARECREDIT                                                           Last4 digitsofaccountnumber 6 6                 17                   $ 3,452.00
       Nonpriority Creditor's Name
                                                                                  Whenwasthedebtincurred? 07/01,2018
       PO BOX 965036
       Number          Street
                                                                                  As of the date you file, the claim is: Checkall that apply.
       ORLANDO                                      FL          32896
       City                                        State       ZIPCode            Q Contingent
                                                                                  1-1 Unliquidated
       Who incurred the debt? Check one.                                          LI Disputed
       0' Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITYunsecured claim:
       1-1 Debtor 1 and Debtor2 only                                              Q Studentloans
       Q At leastoneofthedebtorsandanother                                        Q Obligations arising out ofa separation agreement or divorce that
                                                                                      you did not report as priorityclaims
       1.3 Check Ifthis claim Is for a community debt
                                                                                  Q Debtstopensionorprofit-sharingplans,andothersimilardebts
       Is the claim subject to offset?                                              Other. Specify CC
       St No
       Q Yes


|5.1
       WELLS FARGO BANK NA                                                        Last4 digits ofaccount number 8             8   7 5                  $ 9, 159.00
       Nonpriority Creditor's Name
                                                                                  Whenwasthe debtincurred? 07/18/2018
       PO BOX 14517
       Number          Street
                                                                                  As of the date you file, the claim is: Checkall thatapply.
       DES MOINES                                   IA          50306
       City                                        State       ZIPCode            Q Contingent
                                                                                  a Unliquidated
       Who incurred the debt? Check one.                                          Q Disputed
       QT Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               [-1 Student loans
       Q At least one of the debtors and another
                                                                                  Q Obligations arising out ofa separation agreement ordivorce that
                                                                                      you did not report as priority claims
       Q Check if this claim is for a community debt
                                                                                  Q Debtsto pension or profit-sharing plans, andother similar debts
       Is the claim subject to offset?                                            S Other. Specify CC
       0 No
       a Yes

                                                                                                                                                       $47, 254. 00
       CES/EFTFINCO LLCNELNET                                                     Last4 digits ofaccount number 5             8   3 4
       Nonpriority Creditor's Name
                                                                                  Whenwasthedebtincurred? 12/20/2002
       121 SOUTH 13TH STREET
       Number          Street
                                                                                  As of the date you file, the claim is: Checkall thatapply.
       LINCOLN                                     NE           68508
       City                                        State       ZIP Code           Q Contingent
                                                                                  [-1 Unliquidated
       Who incurred the debt? Check one.                                          Q Disputed
       0 Debtor1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       1-1 Debtor1 andDebtor2 only                                                    Student loans
       Q At least one of the debtors and another
                                                                                  Q Obligations arisingoutof a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Checkifthis claimisfora communitydebt
                                                                                  Q Debtstopensionorprofit-sharingplans,andothersimilardebts
       Is the claim subject to offset?                                            a Other. Specify
       0 No
       a Yes



Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                             paiige5_of"7


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  Debtor1       Deanna Lyn Davis                                                                 Case number (iiknawn)
                 First Name    Middle Nama



  Part 3:       List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor Tor any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       MIDLANDCREDITMANAGEMENT,INC.                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

       PO BOX301030                                                      Line 4. 2 of (Check one): 1-1 Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                        0 Part2: Creditors with Nonpriority Unsecured Claims

                                             CA                          Last4 digits ofaccount number 8 7                   83
       LOSANGELES                                       90030
       City                                               ZIP Code

       MIDLAND CREDIT MANAGEMENT, INC.                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

       PO BOX 301030                                                     Line4.3 of (Checkone): Q Parti:CreditorswithPriorityUnsecuredClaims
       Number         Street
                                                                                                        M Part 2: Creditors with Nonpriority Unsecured
                                                                         Claims

       LOSANGELES                             CA        90030            Last4 digits ofaccount number_J_ 1                  39
       City                                               ZIP Code

       GUGLIEMO& ASSOCIATES,PLLC                                         On which entry in Part 1 or Part 2 did you list the original creditor?
       Name


       3040 N CAMPBELLAVENUE                                             Line 4.4 of [Check one): Q Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                  ST Part 2: Creditors with Nonpriority Unsecured
       SUITE 200                                                         Claims

       TUCSON                                 AZ        85719            Last4 digits ofaccount number 4                 1   57
      City                                   State        ZIPCode

       NATIONAL ENTERPRISE SYSTEMS                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name


       2479 EDISONBLVD                                                   Line 5.0 of {Checkone): Q Part 1:CreditorswithPriorityUnsecuredClaims
       Number         Street
                                                                                                 5y Part 2: Creditors with Nonpriority Unsecured
       UNIT A                                                            Claims

       TWINSBURG                              OH        44087            Last4 digitsofaccount number_0 003
      City                                   State        ZIP Code



                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                         Line_ of (Checkone): Q Part1: CreditorswithPriorityUnsecuredClaims
      Number          Street
                                                                                              Q Part2: Creditors with Nonpriority Unsecured
                                                                         Claims


                                                                         Last 4 digits of account number.

                                                                         On whichentry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                         Line_of [Check one): Q Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                        1-1 Part2: Creditorswith NonpriorityUnsecured
                                                                         Claims

                                                                         Last 4 digits of account number.
      City                                   State        ZIPCode

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
      Name


                                                                         Line_of (Check one): Q Parti: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                              Q Part2: Creditors with Nonpriority Unsecured
                                                                         Claims


      City                                   State        ZIPCode       Last 4 digits of account number_ _                   _ _


Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       of.

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Debtor1        DEANNA LYN DAVIS                                                              Case number wiamm
               First Name     MiddlsNama          LastName



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U. S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                       Total claim



Total claims
                6a. Domestic support obligations                                6a.
                                                                                       $
                                                                                                             0.00
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.    $                     0.00
                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.
                                                                                       s
                                                                                                             0.00
                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.   +$_                    0.00


                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                             0.00


                                                                                       Total claim


                6f. Student loans                                               6f-     s;            47, 354.00
Total claims
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                     claims                                                     eg.                          0.00
                6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                              6h.                          0.00

                6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                    6i. + $               44,954.00


                6j. Total. Add lines 6f through 6i.                             6J.                   92,208.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                page7 of 7
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                                                      Main Document    Page 27 of 48
       Fill in this information to identify your case.

       Debtor            DEANNA LYN DAVIS
                          First Name                  Middle Name

       Debtor2            N/A
       (Spouse If filing) First Name                  Middle Name

       United States Bankruptcy Court for the: District of Arizona

       Case number
       (If known)                                                                                                                           Q Check ifthis isan
                                                                                                                                               amended filing


    Official Form 106G
    Schedule G: Executory Contracts and                                                               pired Leases                                       12/15
    Be as complete and accurateas possible. If two married people arefilingtogether, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages,write your name and case number(if known).

      1. Do you have any executory contracts or unexpired leases?
             Q No. Checkthis boxandfile this form withthe court withyour other schedules. You have nothing else to report on thisform.
             0 Yes.Fillinalloftheinformationbelowevenifthecontractsorleasesarelistedon ScheduleA/B:Property(OfficialForm 106A/B).
      2. Listseparatelyeach person or companywith whom you have the contract or lease. Then state whateach contract or lease is for (for
             example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
             unexpired leases.



             Person or company with whom you have the contract or lease                           State what the contract or lease is for


    ;2. 1;   AT&T                                                                          CELL PHONE
    . -J
             Name

             PO BOX6416
             Number         Street
             CAROLSTREAM                   IL              60197
             City                             State        ZIPCode

             ORANGEWOODESTATES HOMEOWNERSASS                                               HOA
             Name

             PO BOX5445
             Number         Street
     GOODYEAR                              AZ              85338
L. . CS»L                                     State        ZIPCode
    2.3!
             Name


             Number         Street


i            City                             State        ZIPCode
v'
j_J
             Name
I

             Number         Street
I
I
L^JB?                                         State        ZIPCode
;2. 5;
             Name


             Number         Street


             City                             State        ZIP Code


Official Form 106G                                    Schedule G
                                                               G: Executory Contracts and Unexpired Leases                                      page   1ofi

                    Case 2:19-bk-09371-PS                       Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                              Desc
                                                                Main Document    Page 28 of 48
     Fill in this information to identify your case:


     Debtor1           DEANNALYNDAVIS
                        First Name           Middle Name

     Debtor2             N/A
     (Spouse, if filing) FirstName           MiddleName

     UnitedStatesBankruptcyCourtforthe: DistrictofArizona
     Case number                                                                                        Check if this is:
      (Ifknown)
                                                                                                        Q Anamendedfiling
                                                                                                        Q A supplementshowingpostpetitionchapter13
                                                                                                             income as ofthe followingdate;
    Official Form 1061                                                                                       MM / DD / YYYY

    Sc                 ul                           co e                                                                                               12/15
    Be as complete and accurateas possible. Iftwo married people arefiling together (Debtor 1 and Debtor2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse
    If you are separated and your spouse is not filing with you, do not include information aboutyour spouse. If more space is needed, attach a
    separate sheet to this form. On the top of anyadditionalpages,write your name and case number (if known). Answerevery question.

     Parti:           Describe Employment


    11. Fill in your employment
       information.                                                       Debtor 1                                      Debtor2 or non-filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional       Employment status                   Employed                                  Q Employed
       employers.                                                       1-1 Notemployed                                 Q Not employed
       Include part-time, seasonal, or
       self-employed work.
                                          Occupation
                                                                      En ineer                                       N/A
       Occupation may include student
       or homemaker, if it applies.
                                          Employer's name             INTEL

                                          Employer's address          4600 S DOBSON ROAD
                                                                       Number     Street                              Number   Street




                                                                      CHANDLER                  AZ      85248
                                                                       City                State   ZIPCode            City                 State   ZIP Code

                                          How long employed there? 2 mo                                                2mo


     Part 2:         Give Details About Monthly Income

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
       spouse unless you are separated.
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
     2. List monthly gross wages,salary, and commissions (beforeall payroll
        deductions). If not paid monthly, calculate what the monthly wage would be.        2-      $ 3,875.96            $_
     3. Estimate and list monthly overtime pay.                                            3. +$             0.00    +$
I

i 4. Calculate gross income. Add line 2 + line 3.                                          4.      $ 3, 875.96 $


Official Form 1061                                                Schedule I: Your Income                                                          page 1



             Case 2:19-bk-09371-PS                    Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                                   Desc
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Debtor 1          DEANNALYNDAVIS                                                                      Case number pknown)



                                                                                                  For Debtor 1               For Debtor 2 or
                                                                                                                            json-fllina spouse

      Copy line 4 here.                                                                   4.      $      3,875.96              $


    5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                                5a.      $         587.41             $

        5b. Mandatory contributions for retirement plans                                 5b.      $         200. 00            $

        5c. Voluntary contributions for retirement plans                                 5c.      $            0.00            $

        5d. Required repayments of retirement fund loans                                 5d.      $           0. 00            $

        5e. Insurance                                                                    5e.      $          26.90             $

        5f. Domestic support obligations                                                 5f.      $           0.00             $

        5g. Union dues                                                                   5g.      $           0.00             $

        5h. Other deductions. Specify:                                                   5h.     +$                         +$
    6. Add the payroll deductions. Add lines 5a + 5b+ 5c+ 5d+ 5e +5f + 5g + 5h. 6.                $-        814. 13            $-

    7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.      $      3,061.65

    8. List all other income regularly received:
        8a. Net income from rental property and from operating a business,
            profession, or farm
i           Attach a statementfor each property and businessshowinggross
!           receipts, ordinary and necessary businessexpenses, and the total                                   0. 00
            monthly net income.                                                          83. $                                 $

I       Sb. Interest and dividends                                                       8b. $                 0.00            $

        8c. Familysupport payments that you, a non-filing spouse, or a         dependentt
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                              0.00
            settlement, and property settlement.                                         8c. $                                 $

        8d. Unemployment compensation                                                    8d. $                 0.00            $

        8e. Social Security                                                              8e.                   0. 00           $

        8f. Other government assistance that you regulariy receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits underthe Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                     8f.      $            0.00            $


        8g. Pension or retirement income                                                 eg.      $            0.00            $-
        8h. Other monthly income. Specify:                                               8h.     +$            0.00          +$
    9. Add all other income. Add lines 8a +8b+ 8c+ 8d +8e + 8f +8g + 8h.                    9.    $            0.00            $


    10.Calculate monthly income. Add line 7 + line 9.                                                    3,061. 65 +                                   = $      3,061. 65
                                                                                                  $                            $
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

    11. State all other regularcontributions to the expensesthat you list in ScheduleJ.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not includeanyamounts already included in lines 2-10or amounts thatare not availableto payexpenses listed in ScheduleJ.
       Specify:                                                                                                                                  11.+                 0. 00

] 12. Add the amount in the last column of line 10to the amount in line 11.The result is the combined monthly income.
       Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                        12.     $      3,061.65
                                                                                                                                                         Combined
                                                                                                                                                         monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
        Q No.
        0 Yes. Exolain: A er *3ein9 a professor for 15 years I have changed professions, it could go either way.

Official Form 1061                                                 Schedule I: Your Income                                                                   page 2


           Case 2:19-bk-09371-PS                    Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                                              Desc
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   Debtor1       Deanna Lyn Davis                                                            Case number (ifknown




  21. Other. Specify:                                                                                               21.   +$           0.00

 22. Calculateyour monthly expenses.

      22a. Add lines 4 through 21.                                                                              22a.      $      3, 569. 39
      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.      $            0. 00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.      $      3, 569.39


 23. Calculate your monthly net income.
    23a. Copy line 12 {your combined monthly income) from Schedule I.                                                      $     3, 061.65
                                                                                                                23a.
    23b. Copyyour monthly expensesfrom line 22cabove.                                                           23b.             3, 569.39
                                                                                                                          -$
    23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                                  -507. 74
             The result is your monthly net income.                                                             23c.




 24. Doyou expectan increaseor decreasein your expenseswithintheyearafteryou filethisform?
     Forexample, do you expect to finish paying for your car loan within the yearordo you expect your
     mortgagepaymentto increaseordecreasebecauseofa modificationto thetermsofyourmortgage?
    a No.
    0 Yes.        Explain here:
                                  After 15 years ofteaching I've changed professions and it could go either way for me.




Official Form 106J                                        ScheduleJ: Your Expenses                                                    page 3



             Case 2:19-bk-09371-PS                Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                              Desc
                                                  Main Document    Page 31 of 48
   Fill in this information to identify your case:


   Debtor 1        Deanna Lyn Davis                                                                         Check if this is:
                     First Name              Middle Name

   Debtor2           N/A                                                                                    Q An amended filing
   (Spouse, iffiling) FirstName              MlddteName
                                                                                                            Q A supplementshowingpostpetition chapter13
   United States Bankmptcy Court forthe: District of Arizona                                                   expenses as of the following date:
   Case number                                                                                                 MM / DD/ YYYY
   (Ifknown)



 Official Form 106J
 Sc . '                                                         s s                                                                                           12/15

 Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answerevery question.

  Part 1:          Describe Your Household

 1. Is this a joint case?

    0 No. Goto line2.
    1-1 Yes. DoesDebtor2 live in a separatehousehold?
                a No
                Q Yes. Debtor2 mustfile OfficialForm 106J-2, ExpensesforSeparateHouseholdof Debtor2.
 2. Do you have dependents?                 a No                                     Dependent's relationship to                  Dependent's     Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for   Debtor 1 or Debtor 2                         age             with you?
    Debtor 2.                                   each dependent.
                                                                                     Partner                                      52              a No
    Do not state the dependents'
    names.
                                                                                                                                                  0 Yes
                                                                                     Dau hter                                     24              a No
                                                                                                                                                  0 Yes
                                                                                     Son                                          19              a    No
                                                                                                                                                  0    Yes
                                                                                                                                                  a    No
                                                                                                                                                  a    Yes
                                                                                                                                                  a    No
                                                                                                                                                  a Yes

 3. Doyourexpensesinclude                   ^ ^
    expenses of people other than
    yourselfand your dependents?

 Part 2:        Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. Ifthis is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cashgovernment assistance if you knowthe value of
 suchassistanceandhaveincludedit on ScheduleI:YourIncome(OfficialForm1061.)                                                             Yourexpenses
  4. The rental or home ownershipexpensesfor your residence. Includefirst mortgage payments and                                                    1,450.00
     any rent for the ground or lot.                                                                                        4.

     If not included in line 4:
     4a. Real estate taxes                                                                                                  4a.        $.                0.00
     4b. Property, homeowner's, or renter's insurance                                                                       4b. $                        0.00
     4c. Home maintenance,repair, and upkeep expenses                                                                       4c. $                      300.00
     4d. Homeowner'sassociationor condominiumdues                                                                           4d. $                       51. 59

Official Form 106J                                             Schedule J: Your Expenses                                                                 page 1




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   Debtor1         Desnna Lyn Davis                                                      Case number {IFknown)




                                                                                                                            Your expenses


   5. Additionalmortgage paymentsforyour residence, suchas homeequityloans                                        5.        $                  0.00

   6. Utilities:
      6a. Electricity, heat, natural gas                                                                          6a.   $                   308.80
      6b. Water, sewer, garbagecollection                                                                        6b.    $                   100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                         6C.    $                   350.00
      6d. Other. Specify:                                                                                        6d.    $                     0.00
  7. Food and housekeeping supplies                                                                              7.     $                   400. 00
  8. Childcare and children's education costs                                                                    8.     $                     0.00
  9. Clothing, laundry, and dry cleaning                                                                         9.     $                    50.00
 10. Personal care products and services                                                                         10.    $                    25.00
 11. Medical and dental expenses                                                                                 11.    $                   100.00
 12. Transportation. Includegas, maintenance, bus or train fare.
      Do not include car payments.
                                                                                                                        $                   300.00
                                                                                                                 12.
 13. Entertainment, clubs, recreation, newspapers, magazines,and books                                           13.    $                     0.00
 14. Charitablecontributions and religious donations                                                             14.    $                     0.00
 15. Insurance.
      Do not include insurancedeductedfrom your payor included in lines 4 or 20.
      l5a. Life insurance                                                                                        15a. $                       0.00
      l5b. Health insurance                                                                                      15b. $                       0.00
      l5c. Vehicle insurance                                                                                     15c. $                     242.00
      l5d. Other insurance. Specify:                                                                             15d. $                       0.00

16. Taxes. Do not includetaxesdeductedfrom your payor included in lines4 or 20.
      Specify:                                                                                                   16. $                        0. 00
 17. Installment or lease payments:

      l7a. CarpaymentsforVehicle 1                                                                               l7g    $                     0. 00
     l7b. Car payments for Vehicle 2                                                                             l7b^   $                     0. 00
     17c. Other. Specify:                                                                                        l7c    $                     0.00
     l7d. Other. Specily:                                                                                        17d.   $                     0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule I, Your Income (Official Form 1061).                                            13.                         0.00
19. Otherpaymentsyou maketo support otherswhodo not livewithyou.
    Specily:Partner Child Support Order                                                        ., 9 ^                                       167.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
     20a. Mortgages on other property                                                                        20a. $                           0.00
     20b. Real estate taxes                                                                                  20b. $                          0.00
     20c. Property, homeowner's, or renter's insurance                                                       20c. $                          0.00
     20d. Maintenance, repair, and upkeep expenses                                                           20d. $                          0.00
     20e. Homeowner's association or condominium dues                                                        20e. $                          0.00


Official Form 106J                                        ScheduleJ: Your Expenses                                                           page 2



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Fill in this information to identify your case.

Debtor1            Deanna Lyn Davis
                   First Name               Middle Name

Debtor2             N/A
(Spouse, if filing) First Name              Middle Name

UnitedStates BankruptcyCourtforthe; District ofArizona
Case number
(If known)
                                                                                                                                              Q Check if this is an
                                                                                                                                                  amended filing


  Official Form 106Dec
                                                                                                      0 S                                                  12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment tor up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       aar No
       Q Yes. Nameofperson                                                          .         AttachBankruptcyPetitionPraparer'sNotice, Declaration,and
                                                                                              Signature (Official Form 119).




      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.




                Wl4/]^
        Signature of Debtor 1
                                                                      N/A
                                                                      Signature of Debtor 2


        Date7 ZZ Z ^                                                  Date
                MM/     DD       /   YYYY                                    MM/   DD /   YYYY




 Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules




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   Fill in this information to identify your case:

   Debtor1             DEANNALYNDAVIS
                       First Name               Middle Name

   Debtor2             N/A
   (Spouse, if filing) FirstName                MiddleName

   UnitedStatesBankmptcyCourtforthe: DistrictofArizona
   Case number
    (Ifknown)                                                                                                                         Q Check if this is an
                                                                                                                                         amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answerevery question.

   Part 1:        Give Details About Your Marital Status and Where You Lived Before


   l. Whatis your current marital status?

        Q Married
       St Notmarried

   2. Duringthe last 3 years, have you lived anywhereother than where you live now?
       a No
       1STYes. Listallofthe places you lived inthe last3 years. Donotincludewhere you live now.
                Debtor 1:                                          Dates Debtor 1    Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                             lived there

                                                                                     Q SameasDebtor 1                                     Q SameasDebtor 1
                 2527WACOMADRIVE                                   From 08/01/2008        N/A                                                From
                Number              Street
                                                                   To 08/17/2017 Number street                                               To


                 PHOENIX                     AZ      85023
                City                         State ZIP Code                              City                      State ZIP Code


                                                                                     Q SameasDebtor 1                                     Q Same as Debtor 1

                N/A                                                From                                                                      From
                Number              Street                                               Number Street
                                                                   To                                                                        To



                City                         State   ZIP Code                            City                      State   ZIP Code


   3. Withinthe last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communityproperty
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       S'No
       [-1 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1




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Debtor 1      DEANNA LYN DAVIS                                                                             Case number (Sknwm)
               First Name      Middle Name




 4. Didyouhaveanyincomefromemploymentorfromoperatinga businessduringthisyearorth®twopreviouscalendaryears?
      Fill in the total amount of income you received from all jobs and all businesses. including part-time activities.
      Ifyou arefilinga joint caseandyou have income thatyou receive together, list it onlyonce underDebtor 1.
      a No
      S3 Yes. Fill in the details.
                                                             Debtor 1                                               Debtor 2

                                                             Sources of income         Gross Income                 Sources of income         Gross Income

                                                             Checkall that apply.      (before deductions and       Check all that apply.     (before deductions and
                                                                                       exclusions)                                            exclusions)

                                                              0 Wages,commissions,                                   Q Wages,commissions,
           From January 1 of current year until                                                          ''^'..Jo       bonuses,tips
                                                                 bonuses, tips
           the date you filed for bankruptcy:
                                                              Q Operatinga business                                  Q Operatinga business

                                                                 Wages, commissions,                                 Q Wages,commissions,
           For last calendar year:                                                                  18,639.00          bonuses,tips
                                                                 bonuses, tips
           (January1 to December31.2018                   J Q Operatinga business                                    Q Operating a business
                                             YYYY

                                                              8l Wages,commissions,                             Q Wages,commissions,
           For the calendar year before that:
                                                                  bonuses, tips                     28. 672. 00 _ bonuses. Bps
           (January 1 to December 31, 2017                    Q Operatinga business                             Q Operating a business
                                             YYYY




  5. Didyou receiveanyotherincomeduringthisyearorthetwo previouscalendaryears?
     Include income regardless ofwhether that income istaxable. Examples of other income are alimony; child support; Social Security,
      unemployment,andotherpublicbenefitpayments;pensions;rentalincome;interest;dividends;moneycollectedfromlawsuits;royalties;and
      gambling andlotterywinnings. Ifyou arefiling a joint caseandyouhaveincomethatyou received together, listitonlyonce under Debtor 1.
      Listeach source andthe gross income from each source separately. Do not include income that you listed in tine4.
      BfNo
      a Yes. Fill in thedetails.
                                                              Debtor 1                                                Debtor;

                                                              Sources of income            Gross income from          Sources of income       Gross Income from
                                                                                           each source                Describe below.         each source
                                                              Describe below.
                                                                                           (beforedeductionsand                               (before deductions and
                                                                                           exclusions)                                        exclusions)



            From January 1 of current year until
                                                                                       $                   0. 00                              $
            the date you filed for bankruptcy:              N/A                        $

                                                                                       $                                                      $


                                                            eBAY                       $                 262.20                               $
            For last calendaryear:
                                                                                       $
            (January1 to December31 2, 018                                                                                                    $
                                             YYYY
                                                                                       $                                                      $




            Forthe calendaryear beforethat:                 eBay                       $                 262. 20                              $

            (January1 to December31 2, 017                                             $                                                      $
                                             YYVf
                                                                                       $                                                      $




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2




           Case 2:19-bk-09371-PS                          Doc 10 Filed 07/29/19 Entered 07/30/19 11:20:04                                         Desc
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Debtor 1     DEANNA LYN DAVIS                                                                      Case number (ifknown)




 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy


 6. Are either Debtor 1's or Debtor2's debts primarily consumerdebts?
     Q No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U. S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household puipose."
             During the 90 days before you filed for bankruptcy, did you pay anycreditor a total of$6, 825* or more?
             a No.Goto line7.
             Q Yes. Listbeloweachcreditortowhomyou paida total of$6,825*ormore inoneor more paymentsandthe
                   total amountyou paidthatcreditor. Donotincludepaymentsfordomesticsupportobligations,suchas
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subjectto adjustmenton4/01/22andevery3 yearsafterthatforcasesfiledon orafterthedateofadjustment.
     El Yes.Debtor1 orDebtor2 orboth haveprimarilyconsumerdebts.
             Duringthe 90daysbeforeyoufiledfor bankruptcy,didyou payanycreditora total of$600ormore?
             0 No.Gotoline7.
             Q Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                    creditor. Do not include payments for domestic support obligations, such as child support and
                    alimony. Also, do not include payments to an attorneyforthis bankruptcycase.

                                                                      Dates of      Total amount paid            Amount you still owe   Was this payment for...
                                                                      payment


                    N/A                                                             $-                       $                              Mortgage
                    Creditor's Name
                                                                                                                                        Dear
                    Number      Street
                                                                                                                                        Q Creditcard
                                                                                                                                        Q Loanrepayment
                                                                                                                                        Q Suppliersorvendors
                                          State           ZIPCode
                                                                                                                                        Q Other
                    City



                    N/A                                                             $                        $                          Q Mortgage
                    Creditor'sName
                                                                                                                                        a Car
                                                                                                                                        Q Creditcard
                    Number Street
                                                                                                                                        Q Loanrepayment
                                                                                                                                        Q Suppliers orvendors
                                                                                                                                        Qother_
                    CKy                   State           ZIPCode




                    N/A                                                             $                        $                          Q Mortgage
                    Creditor's Name
                                                                                                                                        1-1Car
                    Number      Street
                                                                                                                                        Q Creditcard
                                                                                                                                        01 Loanrepayment
                                                                                                                                        Q Suppliers orvendors
                                                                                                                                        Q Other
                    City                  State           ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page3




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Debtor 1      DEANNALYNDAVIS                                                                         Case number {if known)
                   First Name      Middle Name




 7. Within1 yearbeforeyoufiledforbankruptcy,didyou makea paymentona debtyouowedanyonewhowasan Insider?
     Insidersincludeyourrelatives; anygeneralpartners;relativesofanygeneralpartners;partnershipsofwhichyou area generalpartner;
     corporationsofwhichyouareanofficer,director,personincontrol,orownerof20%ormoreoftheirvotingsecurities;andanymanaging
     agent, including onefora business you operate asa sole proprietor. 11 U. S.C. §101. Include payments fordomestic support obligations,
     such as child support and alimony.

     0 No
     Q Yes. Listall paymentsto an insider.
                                                                        Datesof       Total amount      Amountyou still       Reasonfor this payment
                                                                        payment       paid              owe



            N/A
           Insider'sName


           Number         Street




           City                                  State   ZIPCode


            N/A
           Insider's Name



           Number         Street




           City                                  State   ZIPCode


  8. Within1 yearbeforeyoufiledforbankruptcy,didyou makeanypaymentsortransferanypropertyon accountofa debtthatbenefited
     an insider?
     Includepayments on debtsguaranteedor cosignedby an insider.

      Ef No
      Q Yes. Listall payments that benefited an insider.
                                                                       Dates of       Total amount      Amount you still      Reason for this payment
                                                                       payment           paid                                 Include creditor's name


            N/A                                                                      $
            Insider'sName


            Number        Street




            City                                 State   ZIPCode



            N/A
            Insider's Name




            Number Street




            City                                 State   ZIP Code



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4




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Debtor 1      DEANNALYN DAVIS                                                                            Case number (ffknown)
               First Mama            Middle Name




  Part 4: Identify Legal Actions, Repossessions, and Foreclosures
 9. Within1 yearbeforeyoufiled forbankruptcy,wereyou a party in anylawsuit,court action, or administrativeproceeding?
    Listall such matters, includingpersonal injurycases, small claimsactions,divorces,collectionsuits,paternityactions, supportorcustodymodifications,
     and contract disputes.

     El No
     a Yes. Fill in the details.
                                                               Natureofthe case                    Court or agency                            Status ofthe case


           CasetWeN/A                                                                           1 Court Name
                                                                                                                                              Q Pending
                                                                                                                                              Q Onappeal
                                                                                                : Number     Street                           Q Concluded
           Case number
                             N/A
                                                                                                ICity                     State   ZIPCode




           Case tide                                                                            ! Court Name
                                                                                                                                              Q Pending
                                                                                                                                              Q Onappeal
                                                                                                 Number Street                                Q Concluded
           Case number
                                                                                                \ City                    State   ZIPCode


 10.Within 1 year before you filed for bankmptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     St No. Gotoline 11.
     Q Yes. Fill in the information below.

                                                                        Describe the property                                      Date     Value of the property



                N/A
                Creditor'sName

                N/A
                Number Street                                           Explain what happened

                                                                        Q Propertywasrepossessed.
                                                                        Q Property wasforeclosed.
                                                                        a Propertywasgarnished.
                City                               State ZIPCode        Q Property was attached, seized, or levied.
                                                                        Describe the property                                      Date      Value of the propert;




                N/A
                Credtoi'sName


                Number      Street
                                                                        Explain what happened


                                                                        Q Property was repossessed.
                                                                        Q Property wasforeclosed.
                                                   State ZIPCode
                                                                        Q Propertywasgarnished.
                City
                                                                        Q Property wasattached, seized, or levied.


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Debtor 1          DEANNA LYN DAVIS                                                                     Case number wianmn)




  11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
      0 No
      a Yes. Fill inthedetails.
                                                               Describe the action the creditor took                         Date action      Amount
           N/A                                                                                                               was taken

           Creditor's Name


           N/A
           Number    Street




           City                           State ZIPCode        Last4 digits of account number:XXXX-         _ _ _

  12.Within1 yearbeforeyoufiledfor bankruptcy,wasanyofyour property inthe possessionofan assigneeforthe benefitof
      creditors, a court-appointed receiver, a custodian, or another official?
      0 No
      a Yes

  Part 5:         Us* Certain Gifts and Contributions


  13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     0 No
     Q Yes. Fill in thedetailsforeachgift.

            Gifts with a total value of more than $600         Describe the gifts                                            Dates you gave      Value
            per person                                                                                                       the gifts


           N/A
           Person to Whom You Gave the Gift




           Number     Street




           City                           Stale   ZIP Code

           Person's relationship to you


           Giftswitha total value of more than $600            Describethe gifts                                             Dates you gave     Value
           per parson                                                                                                        the gifts


            N/A
           Person to Whom You Gave the Gift




           Number     Street



           City                           State ZIPCode

           Person's relationship to you


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankmptcy




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Debtor 1          DEANNALYN DAVIS                                                                       Case number (fftoioim)




  14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600to any charity?
      0 No
     Q Yes. Fill inthe detailsforeachgiftorcontribution.

            Gifts or contributions to charities             Describe what you contributed                                        Date you           Value
            that total more than $600                                                                                            contributed




           Charity'sName




           Number      Street




           City          State      ZIPCode




  Part 6:           List Certain Losses


  15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, didyou lose anything because of theft, fire, other
      disaster, or gambling?

      S'No
      Q Yes. Fill in the details.

            Describethe propertyyou lost and                Describeanyinsurancecoveragefor the toss                             Dateofyour         Value of property
            how the loss occurred                                                                                                loss               lost
                                                            Include the amount that insurance has paid. List pending insurance
                                                            claims on line 33 of Schedule A/B: Property.

           iN/A



  Part 7:           List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Includeanyattorneys, bankmptcypetition preparers, orcreditcounselingagenciesforservicesrequiredin yourbankmptcy.
      0 No
      a Yes. Fill in the details.

                                                            Description andvalueof anyproperty transferred                       Date payment or    Amount of payment
            N/A                                                                                                                  transfer was
                                                                                                                                 made
             PeisonWhoWasPaid


             Number     Street




             City                       State   ZIPCode


             Email or website address


             PersonWhoMadethe Payment, if NotYou


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Debtor1       DEANNALYN DAVIS                                                                               Case number (iffcnown)
                  FiistName      Middle Name              last Name




                                                                  Description and value of any property transferred                  Date payment or      Amount of
                                                                                                                                     transfer was made    payment
          N/A
          PereonWhoWasPaid


          Number        Street




          City                        State    ZIPCode



          Email or website address



          Person Who Made the Payment, if Not You


 17.Within1 yearbeforeyoufiledfor bankruptcy, didyou or anyoneelse actingon your behalfpayortransferanypropertyto anyonewho
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not includeany paymentor transferthatyou listed on line 16.

     BfNo
     a Yes. Fill in the details.
                                                                  Descriptionand value of anyproperty transferred                    Date payment or     Amount of payment
                                                                                                                                     transfer was
          N/A                                                                                                                        made
           PersonWhoWasPaid


           Number       Street




           City                       State    ZIP Code


 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
     Includeboth outrighttransfers andtransfers made as security (such as the grantingofa security interestor mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     0 No
     Q Yes. Fill in thedetails.
                                                                  Description and value of property         Describe any property or payments received      Date transfer
                                                                  transferred                               or debts paid in exchange                       was made
          N/A
          Person Who Received Transfer



          Number        Street




          City                        State    ZIPCoda


          Person's relationship to you

          N/A
          Peison Who Received Transfer



          Number        Street




          City                        State    ZIP Code

          Person's relationship to you

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Debtor 1       DEANNA LYN DAVIS                                                                   Case number wknam)




  19.Within10years beforeyou filedfor bankruptcy,didyou transferanypropertyto a self-settled trust or similardeviceofwhichyou
      are a beneficiary? (These are often called asset-protectlon devices.)

      0 No
      a Yes. Fill in thedetails.

                                                            Descriptionandvalue ofthe propertytransferred                                         Date transfer
                                                                                                                                                  was made



           Nameoffrust     N/A




  Part 8: List Certain Financial Accounts, Inatruments, Safe Deposit Boxas, and Storage Units
 20.Within1 yearbeforeyoufiled forbankruptcy,wereanyfinancialaccountsor instruments held in your name,orforyour benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperathres, associations, and other financial institutions.
      0 No
      Q Yes. Fill in the details.
                                                            Last4 digits of account number   Type ofaccount or          Date account was       Last balance before
                                                                                             instrument                 closed, sold, moved,   closing or transfer
                                                                                                                        or transferred

           N/A
            Nameof FinancialInstitution
                                                            xxxx-_                            Q Checking
            Number    Street
                                                                                              Q Savings
                                                                                              Q Money market
                                                                                              Q Brokerage
            City                       State   aP Code                                        Q Other

           N/A                                              xxxx-_                            Q Checking
            Name of Financial Institution
                                                                                              Q Savings
            Number Street                                                                     Q Moneymarket
                                                                                              Q Brokerage
                                                                                              a Other.
            CKy                        State   ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
      0 No
      a Yes.Fill in the details.
                                                             Who else had access to it?                   Describe the contents                       Do you still
                                                                                                                                                      have it?

                                                                                                                                                       a No
           N/A
            Name of Financial Institution
                                                                                                                                                       a Yes
                                                            Name


            Number Street                                   Number Street


                                                            City      State      ZIP Code
            City                       State   ZIPCode


Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 9




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Debtor 1          DEANNA LYN DAVIS                                                                              Case number wiaiown}




22.Haveyou stored property in a storage unitorplaceotherthanyour homewithin 1 yearbeforeyou filedforbankruptcy?
     0 No
     Q Yes. Fill in the details.
                                                             Who else has or had access to It?                        Describe the contents          Do you still
                                                                                                                                                     have it?


           N/A                                                                                                                                        a No
            Name of Storage Facility                         Name                                                                                     a Yes

            Number    Street                                 Number Street


                                                             CltyState ZIP Code

            City                        State   ZIPCode


  Part 9:           Identify Property You Hold or Control tor Someone Else
 23. Doyou holdor control anypropertythatsomeoneelse owns?Includeanypropertyyou borrowedfrom, arestoring for,
     or hold in trust for someone.
      0 No
      a Yes. Fill inthe details.
                                                             Whereisthe property?                                     Describetheproperty         Value


            Owner's Name


                                                            Number Street
            Number Street



                                                            City                           State     ZIP Coda
            City                        State    ZIPCode

  Part 10:          Give Details About Environmental Information

  Forthe purpose of Part 10,the following definitionsapply:
    environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize It or used to own, operate, or utilize It, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or simitar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24.Hasanygovernmental unit notifiedyouthatyou may be liableorpotentiallyliableunderor in violationofanenvironmental law?

      0 No
      Q Yes. Fill inthe details.
                                                             Governmental unit                           Environmental law, if you know it       Date of notice


           N/A
           Name of site                                     Governmental unit



           Number    Street                                 Number Street


                                                            City                  State   ZIP Code



           City                        State    ZIPCode



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 25.Have you notified any governmental unit of any release of hazardous material?
      0 No
      a Yes. Fill in thedetails.
                                                     Governmental unit                      Environmental law, if you know It                    Date of notice



           N/A
            Nama of site                            Govsmmantal unit



            Number     Street                       Number   Street




                                                    CHy                State ZIP Code

            City                State   ZIP Code



 26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      0 No
      a Yes. Fill in the details.
                                                                                                                                                  Status of the
                                                      Court or agency                            Nature of the case


           Casetitle   N/A
                                                                                                                                                      Pending
                                                      Court Name
                                                                                                                                                  a Onappeal
                                                      Number Street                                                                               Q Concluded

           Case number                                                      State ZIPCode
                                                      City


  Part 11:         Ohre Details About Your Business or Connections to Any Business
 27. Within4 years beforeyou filed for bankruptcy, didyou own a business or have anyof the following connectionsto any business?
           Q A soleproprietororself-employed in a trade,profession,orotheractivity,eitherfull-timeorpart-time
           a A member of a limited liability company (LLC) or limited liability partnership (LLP)
           Q A partner in a partnership
           Q An officer, director, or managing executive of a corporation
           Q An ownerofat least5%ofthe voting orequitysecuritiesofa corporation
      0 No. Noneoftheabove applies. Goto Part 12.
      Q Yes.Checkall thatapplyaboveandfill inthedetailsbelowforeachbusiness.
                                                      Describe the nature of the business                       Employer Identification number
                                                                                                                Do not include SocialSecuritynumberor ITIN.
            Business Name

                                                                                                                EIN: _ _ -_ _ _ _ _
            Number Street
                                                      Name of accountant or bookkeeper                          Dates business existed



                                                                                                                From                To
            City                State   ZIPCode
                                                      Describe the nature of the business                       Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.
            Business Name

                                                                                                                EIN: _ _ -_ _ _ _ _ _.
            Number Street
                                                      Name of accountant or bookkeeper                          Dates business existed



                                                                                                                From                To
            City                State   BPCode

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Debtor1       DEANNALYNDAVIS                                                                       Case number yiavwn}
                  First Name   Middle Name




                                                           Describe the nature of the business
                                                                                                                 Employer Identification number
                                                                                                                 Do not include Social Security number or fTIN.
           Business Name

                                                                                                                 EIN: _    _ -_

           Number Street
                                                          Name of accountant or bookkeeper                       Dates business existed



                                                                                                                 From                To
           City                     State    ZIPCode




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     0 No
     a Yes. Fill in the details below.
                                                          Date issued



          N/A
           Name                                           MM/DD/VW


           Number Street




          CKy                       State    ZIP Code




 Part 12:         Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                            N/A
          Signature of Debtor 1                                            Signature of Debtor 2


          Date                                                             Date
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No
      a Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      IBfNo
      Q Yes. Nameofperson                                                                                 Attachthe Bankruptcy PetitionPreparer'sNotice.
                                                                                                          Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:


Debtor 1           DEANNA LYN DAVIS
                    First Name                  Middle Nama

Debtor2              N/A
(Spouse, if filing) First Name                  Middle Name


UnitedStatesBankruptcyCourtforthe: DistrictofArizona
Case number
                                                                                                                                         a Check if this is an
 (If known)                                                                                                                                   amended filing



  Official Form 108
  State                             of Intention                  or ndividuals                       iling       nder          ha ter7                12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
       creditors have claims secured by your property, or
     you have leased personal property and the lease has not expired.
  You must file this form withthe court within 30 days afteryou file your bankruptcy petition or by the date set for the meeting of creditors,
  whicheveris earlier, unless the court extendsthetime for cause.You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number(if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. Foranycreditors thatyou listed in Part1 of ScheduleD: CreditorsWhoHavaClaimsSecuredby Property(OfficialForm 106D),fill in the
         information below.

              Identify the creditor and the property that is collateral             Whatdo you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                  as exempt on Schedule C?

          Creditor's
                           LAKEVIEWLOANSRVCG LLC                                   Q Surrender the property.                         a No
          name:
                                                                                   Q Retain the propertyandredeemit.                 0 Yes
          Descriptionof DEBTORSRESIDENCE                                           Q Retain the property and enter into a
         property                7599 W NICOLETAVE                                    Reaffirmation Agreement.
          securingdebt:QLENDALE,AZ 85303
                                 SINGLEFAMILYHOME                                  0 Retain the property and [explain]:
                                                                                     PROPHASALWAYSBEENCURREf


          name10 MULCAHY LAWFIRM                                                   Q Surrenderthe property.                          a No
                                                                                   Q Retain the property and redeem it.              EfYes
          Descriptionof HOA LIENON DEBTORSRESIDENCE                                Q Retain the propertyandenterinto a
          property ^ ^ ^ 7599 w NICOLETAVE                                            RaafRrmation Agreement.
          securingdebt:QLENDALE,AZ 85303                                           0 Retain the property and [explain]:
                                 SINGLE FAMILY HOME
                                                                                      DEVA PAYMENTPLAN

          Creditor's                                                               Q Surrender the property.                         a No
          name:
                                                                                   Q Retain the property and redeem it.              1-lYes
          Description of                                                           Q Retain the propertyandenterinto a
          property
                                                                                      ReafRrmation Agreement.
          securing debt:
                                                                                   Q Retain the propertyand[explain]:


         Creditor's                                                                a Surrender the property.                         a No
         name:
                                                                                   Q Retain the property and redeem it.              a Yes
         Description of
         property
                                                                                   Q Retain the property and enter into a
         securing debt:                                                               ReafRrmation Agreement.
                                                                                   Q Retain the propertyand[explain]:


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 Debtor 1          DEANNA LYN DAVIS                                                         Case number {Hknown)




   Part 2:         List Your Unaxpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are teases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property tease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describeyour unexpired personal property leases                                                              Will the tease be assumed?

       Lessor's name; AT&T                                                                                          Q No
                                                                                                                    0'Yes
       Descriptionofleased cell phone
       property:


       Lessor'sname: QRANGEWOODESTATESHOMEOWNERSASS                                                                 1-1 No
                                                                                                                    0 Yes
       Descriptionofleased QUARTERLY HOABILL
       property:


       Lessor's name: N/A                                                                                           a No
       Description of leased                                                                                        a Yes
       property:


       Lessor's name: N/A                                                                                           a No
                                                                                                                    a Yes
       Description of leased
       property:


       Lessor's name: N/A                                                                                           UNO
                                                                                                                    a Yes
       Description of leased
       property:


       Lessor'sname: N/A                                                                                           a No
                                                                                                                   a Yes
       Description of leased
       property:


       Lessor's name: N/A                                                                                          a No
                                                                                                                   a Yes
       Description of leased
       property:




  Part 3:        Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property tha     subject to an unexpired lease.




      Signature of Debtor, 1                                    Signature of Debtor 2

      Date   ^/2-i/^O                                           Date
             MM/ DD /      YYYY                                        MM/ DD / YYYY




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